        Case 4:07-cv-05944-JST Document 3172 Filed 12/05/14 Page 1 of 3




 1 SHEPPARD MULLIN RICHTER & HAMPTON LLP
       A Limited Liability Partnership
 2     Including Professional Corporations
     GARY L. HALLING, Cal. Bar No. 66087
 3   JAMES L. McGINNIS, Cal. Bar No. 95788
     MICHAEL W. SCARBOROUGH, Cal. Bar No. 203524
 4   Four Embarcadero Center, 17th Floor
     San Francisco, California 94111-4106
 5   Telephone: 415-434-9100
     Facsimile:    415-434-3947
 6   E-mail:       ghalling@sheppardmullin.com
                   jmcginnis@sheppardmullin.com
 7                 mscarborough@sheppardmullin.com

 8 HELEN C. ECKERT, Cal. Bar No. 240531
   333 South Hope Street, 43rd Floor
 9 Los Angeles, California 90071-1448
   Telephone: 213-620-1780
10 Facsimile:    213-620-1398
   E-mail:       heckert@sheppardmullin.com
11
     Attorneys for Defendants
12   SAMSUNG SDI CO., LTD.,
     SAMSUNG SDI AMERICA, INC.,
13   SAMSUNG SDI (MALAYSIA) SDN. BHD.,
     SAMSUNG SDI MEXICO S.A. DE C.V.,
14   SAMSUNG SDI BRASIL LTDA.,
     SHENZHEN SAMSUNG SDI CO., LTD. and
15   TIANJIN SAMSUNG SDI CO., LTD.

16                               UNITED STATES DISTRICT COURT

17                             NORTHERN DISTRICT OF CALIFORNIA

18                                    SAN FRANCISCO DIVISION

19 In re: CATHODE RAY TUBE (CRT)                         Master Case No. 07-5944 SC
     ANTITRUST LITIGATION
20                                                       MDL No. 1917

21 This Document Relates to:                             SDI DEFENDANTS’ NOTICE OF
                                                         MOTION AND MOTION TO EXCLUDE
22 Alfred H. Siegel, as Trustee of the Circuit City      EXPERT TESTIMONY OF DR. STEPHAN
   Stores, Inc. Liquidating Trust v. Hitachi, Ltd., et   HAGGARD
23 al., No. 11-cv-05502;
24 CompuCom Systems, Inc. v. Hitachi, Ltd., et al.,      Date: February 20, 2015
     No. 11-cv-06396;                                    Time: 10:00 am
25                                                       Place: Courtroom 1, 17th Floor
   Costco Wholesale Corporation v. Hitachi, Ltd.,        Hon. Samuel Conti
26 et al., No. 11-cv-06397;
27 Dell Inc. and Dell Products L.P., v. Hitachi, Ltd.,
   et al, No. 13-cv-02171;
28 (CONTINUED ON NEXT PAGE)

     SMRH:435074369.3                    SDI DEFENDANTS’ MOTION TO EXCLUDE EXPERT TESTIMONY OF DR. HAGGARD
        Case 4:07-cv-05944-JST Document 3172 Filed 12/05/14 Page 2 of 3




 1 Electrograph Systems, Inc. and Electrograph
   Technologies Corp., v. Hitachi, Ltd., et al., No.
 2 11-cv-01656;
 3 Interbond Corporation of America v. Hitachi,
     Ltd., et al., No. 11-cv-06275;
 4
   Office Depot, Inc. v. Hitachi Ltd., et al., No. 11-
 5 cv-06276;
 6 P.C. Richard & Son Long Island Corp., Marta
   Cooperative of Am., Inc., ABC Appliance, Inc. v.
 7 Hitachi, Ltd., et al., No. 12-cv-02648;
 8 Schultze Agency Services, LLC, on behalf of
   Tweeter Opco, LLC and Tweeter Newco, LLC v.
 9 Hitachi, Ltd., et al., No. 12-cv-02649;

10 Sears, Roebuck and Co. and Kmart Corp. v.
   Chunghwa Picture Tubes, Ltd., et al., No. 11-cv-
11 05514;
12 Target Corp. v. Chunghwa Picture Tubes, Ltd.,
     et al., No. 11-cv-05514;
13
   Tech Data Corp and Tech Data Product
14 Management, Inc., v. Hitachi, Ltd., et al., No. 13-
   cv-00157;
15
   ViewSonic Corp. v. Chunghwa Picture Tubes,
16 Ltd., et al., No. 14-02510.

17
18                      REDACTED VERSION OF DOCUMENT FILED UNDER SEAL
19
20
21
22
23
24
25
26
27
28

     SMRH:435074369.3                    SDI DEFENDANTS’ MOTION TO EXCLUDE EXPERT TESTIMONY OF DR. HAGGARD
        Case 4:07-cv-05944-JST Document 3172 Filed 12/05/14 Page 3 of 3




 1
 2
 3
 4
 5
 6
 7
 8
             DOCUMENT FILED
 9
10
             UNDER SEAL
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                           -1-
     SMRH:435074369.3             SDI DEFENDANTS’ MOTION TO EXCLUDE EXPERT TESTIMONY OF DR. HAGGARD
